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UNITED sTATE ISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

   

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Honorable J on McCalla
US DISTRICT COURT

